                   Case 13-43117                    Doc 17             Filed 12/26/13 Entered 12/26/13 14:32:16                  Desc Main
                                                                        Document     Page 1 of 27
B6A (Official Form 6A) (12/07)


          }
          b
          k
          1
          {
          S
          c
          h
          e
          d
          u
          l
          A
          -
          R
          a
          P
          r
          o
          p
          t
          y




  In re         Wally M Sabet                                                                                    Case No.     13-43117
                                                                                                     ,
                                                                                       Debtor

                                                             SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                     Husband,    Current Value of
                                                                             Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                Description and Location of Property                         Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                    Community Deducting  any Secured
                                                                                                                Claim or Exemption

Location: 297 Andover Street, North Andover MA                                                           -                  375,000.00               452,870.00
01845




                                                                                                     Sub-Total >            375,000.00       (Total of this page)

                                                                                                             Total >        375,000.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                     (Report also on Summary of Schedules)
Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                   Case 13-43117                    Doc 17             Filed 12/26/13 Entered 12/26/13 14:32:16                       Desc Main
                                                                        Document     Page 2 of 27
B6B (Official Form 6B) (12/07)


          }
          k
          b
          {
          1
          S
          c
          h
          e
          d
          u
          l
          B
          -
          P
          r
          s
          o
          n
          a
          p
          t
          y




  In re         Wally M Sabet                                                                                       Case No.       13-43117
                                                                                                        ,
                                                                                       Debtor

                                                       SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                          N                                                                Husband,        Current Value of
                Type of Property                          O                 Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                 Joint, or   without Deducting any
                                                          E                                                               Community Secured Claim or Exemption

1.    Cash on hand                                            Location: 297 Andover Street, North Andover MA                   -                        4,744.00
                                                              01845

2.    Checking, savings or other financial                    Bank of America - Checking acct                                  -                          100.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,                      TD Bank Checking                                                 -                          200.00
      thrift, building and loan, and
      homestead associations, or credit                       Citizens Bank Business Checking                                  -                              0.00
      unions, brokerage houses, or                            1315156765
      cooperatives.
                                                              Citizens Bank Business Checking                                  -                            50.00

3.    Security deposits with public                       X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                        Location: 297 Andover Street, North Andover MA                   -                        2,500.00
      including audio, video, and                             01845
      computer equipment.

5.    Books, pictures and other art                       X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                        Location: 297 Andover Street, North Andover MA                   -                          500.00
                                                              01845

7.    Furs and jewelry.                                       Location: 297 Andover Street, North Andover MA                   -                        1,500.00
                                                              01845

8.    Firearms and sports, photographic,                  X
      and other hobby equipment.

9.    Interests in insurance policies.                    X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.




                                                                                                                               Sub-Total >            9,594.00
                                                                                                                   (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                   Case 13-43117                    Doc 17             Filed 12/26/13 Entered 12/26/13 14:32:16                       Desc Main
                                                                        Document     Page 3 of 27
B6B (Official Form 6B) (12/07) - Cont.




  In re         Wally M Sabet                                                                                       Case No.       13-43117
                                                                                                        ,
                                                                                       Debtor

                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                              (Continuation Sheet)

                                                          N                                                                Husband,        Current Value of
                Type of Property                          O                 Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                 Joint, or   without Deducting any
                                                          E                                                               Community Secured Claim or Exemption

10. Annuities. Itemize and name each                      X
    issuer.

11. Interests in an education IRA as                      X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                       Sabet Family Inc                                                 -                              0.00
    and unincorporated businesses.                            200 shares (100%)
    Itemize.

14. Interests in partnerships or joint                    X
    ventures. Itemize.

15. Government and corporate bonds                        X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  X

17. Alimony, maintenance, support, and                    X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                       single family home                                               -                      32,000.00
    estates, and rights or powers                             225 Arlington St
    exercisable for the benefit of the                        Chelsea, MA 02150
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                          X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.




                                                                                                                               Sub-Total >          32,000.00
                                                                                                                   (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                   Case 13-43117                    Doc 17             Filed 12/26/13 Entered 12/26/13 14:32:16                       Desc Main
                                                                        Document     Page 4 of 27
B6B (Official Form 6B) (12/07) - Cont.




  In re         Wally M Sabet                                                                                       Case No.       13-43117
                                                                                                        ,
                                                                                       Debtor

                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                              (Continuation Sheet)

                                                          N                                                                Husband,        Current Value of
                Type of Property                          O                 Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                 Joint, or   without Deducting any
                                                          E                                                               Community Secured Claim or Exemption

21. Other contingent and unliquidated                     X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                        X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                       X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                  X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                        Location: 297 Andover Street, North Andover MA                   -                      13,000.00
    other vehicles and accessories.                           01845
                                                              Cadillac Escalade 2005

26. Boats, motors, and accessories.                       X

27. Aircraft and accessories.                             X

28. Office equipment, furnishings, and                    X
    supplies.

29. Machinery, fixtures, equipment, and                   X
    supplies used in business.

30. Inventory.                                            X

31. Animals.                                              X

32. Crops - growing or harvested. Give                    X
    particulars.

33. Farming equipment and                                 X
    implements.

34. Farm supplies, chemicals, and feed.                   X




                                                                                                                               Sub-Total >          13,000.00
                                                                                                                   (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                   Case 13-43117                    Doc 17             Filed 12/26/13 Entered 12/26/13 14:32:16                       Desc Main
                                                                        Document     Page 5 of 27
B6B (Official Form 6B) (12/07) - Cont.




  In re         Wally M Sabet                                                                                       Case No.       13-43117
                                                                                                        ,
                                                                                       Debtor

                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                              (Continuation Sheet)

                                                          N                                                                Husband,        Current Value of
                Type of Property                          O                 Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                 Joint, or   without Deducting any
                                                          E                                                               Community Secured Claim or Exemption

35. Other personal property of any kind                   X
    not already listed. Itemize.




                                                                                                                               Sub-Total >                  0.00
                                                                                                                   (Total of this page)
                                                                                                                                    Total >         54,594.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                           (Report also on Summary of Schedules)
Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                    Case 13-43117                    Doc 17             Filed 12/26/13 Entered 12/26/13 14:32:16                              Desc Main
                                                                         Document     Page 6 of 27
 B6C (Official Form 6C) (4/13)


           E
           }
           x
           b
           e
           k
           m
           1
           p
           {
           t
           S
           c
           h
           d
           u
           l
           C
           -
           P
           r
           o
           y
           a
           i
           s




   In re         Wally M Sabet                                                                                         Case No.           13-43117
                                                                                                           ,
                                                                                        Debtor

                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                  Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                  $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                       with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                         Value of                 Current Value of
                   Description of Property                                         Each Exemption                             Claimed                  Property Without
                                                                                                                             Exemption               Deducting Exemption
Cash on Hand
Location: 297 Andover Street, North Andover                               11 U.S.C. § 522(d)(5)                                      4,744.00                         4,744.00
MA 01845

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Bank of America - Checking acct                   11 U.S.C. § 522(d)(5)                                                                100.00                           100.00

TD Bank Checking                                                          11 U.S.C. § 522(d)(5)                                        200.00                           200.00

Household Goods and Furnishings
Location: 297 Andover Street, North Andover                               11 U.S.C. § 522(d)(3)                                      2,500.00                         2,500.00
MA 01845

Wearing Apparel
Location: 297 Andover Street, North Andover                               11 U.S.C. § 522(d)(3)                                        500.00                           500.00
MA 01845

Furs and Jewelry
Location: 297 Andover Street, North Andover                               11 U.S.C. § 522(d)(4)                                      1,500.00                         1,500.00
MA 01845

Equitable or Future Interests, Life Estates, etc.
single family home                                                        11 U.S.C. § 522(d)(5)                                        100.00                     160,000.00
225 Arlington St
Chelsea, MA 02150

Automobiles, Trucks, Trailers, and Other Vehicles
Location: 297 Andover Street, North Andover                               11 U.S.C. § 522(d)(2)                                      1,728.00                       13,000.00
MA 01845
Cadillac Escalade 2005




                                                                                                           Total:                  11,372.00                       182,544.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
                    Case 13-43117                    Doc 17              Filed 12/26/13 Entered 12/26/13 14:32:16                              Desc Main
                                                                          Document     Page 7 of 27
 B6D (Official Form 6D) (12/07)


           }
           e
           b
           c
           k
           u
           1
           r
           {
           S
           d
           h
           C
           l
           a
           i
           m
           s
           D
           -
           t
           o
           H
           n
           g




   In re         Wally M Sabet                                                                                                  Case No.     13-43117
                                                                                                                   ,
                                                                                                  Debtor

                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                            C    Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                               O                                                               O    N   I
                                                            D    H        DATE CLAIM WAS INCURRED,                          N    L   S        CLAIM
           AND MAILING ADDRESS                              E                                                               T    I   P       WITHOUT         UNSECURED
            INCLUDING ZIP CODE,                             B    W           NATURE OF LIEN, AND                            I    Q   U                       PORTION, IF
                                                            T    J         DESCRIPTION AND VALUE                            N    U   T
                                                                                                                                            DEDUCTING
           AND ACCOUNT NUMBER                               O                                                               G    I   E       VALUE OF           ANY
             (See instructions above.)
                                                                 C                OF PROPERTY
                                                            R
                                                                               SUBJECT TO LIEN
                                                                                                                            E    D   D     COLLATERAL
                                                                                                                            N    A
                                                                                                                            T    T
Account No. xxxxxx3710                                               Opened 5/01/06 Last Active 10/31/13                         E
                                                                                                                                 D

Citimortgage Inc                                                     First Mortgage
Po Box 9438,dept 0251
Gaithersburg, MD 20898                                            Location: 297 Andover Street, North
                                                                - Andover MA 01845

                                                                        Value $                            375,000.00                        397,776.00            22,776.00
Account No. xxxxx8906                                                Opened 5/01/06 Last Active 5/10/13

Citimortgage Inc                                                     Second Mortgage
Po Box 9438,dept 0251
Gaithersburg, MD 20898                                            Location: 297 Andover Street, North
                                                                - Andover MA 01845

                                                                        Value $                            375,000.00                         55,094.00            55,094.00
Account No.                                                          single family home
                                                                     225 Arlington St
Commonwealth of Massachusetts                                        Chelsea, MA 02150


                                                                -

                                                                        Value $                            160,000.00                        200,000.00            40,000.00
Account No. xxx4381                                                  Opened 7/01/06 Last Active 10/24/13

Metropolitan Credit Un                                               single family home
200 Revere Beach Pkwy                                                225 Arlington St
Chelsea, MA 02150                                                    Chelsea, MA 02150
                                                                -

                                                                        Value $                            160,000.00                         17,775.00            17,775.00
                                                                                                                         Subtotal
 2
_____ continuation sheets attached                                                                                                           670,645.00          135,645.00
                                                                                                                (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                    Case 13-43117                    Doc 17              Filed 12/26/13 Entered 12/26/13 14:32:16                              Desc Main
                                                                          Document     Page 8 of 27
 B6D (Official Form 6D) (12/07) - Cont.




   In re         Wally M Sabet                                                                                                  Case No.     13-43117
                                                                                                                   ,
                                                                                                  Debtor


                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                      (Continuation Sheet)

                                                            C    Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                O                                                               O    N   I
                                                            D    H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                              E                                                               T    I   P       WITHOUT       UNSECURED
                                                                 W              NATURE OF LIEN, AND                                                        PORTION, IF
            INCLUDING ZIP CODE,                             B
                                                                               DESCRIPTION AND VALUE
                                                                                                                            I    Q   U
                                                                                                                                            DEDUCTING
                                                            T    J                                                          N    U   T                        ANY
           AND ACCOUNT NUMBER                               O    C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                           R
                                                                                   SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                            N    A
                                                                                                                            T    T
Account No. xxx4380                                                  Opened 7/01/06 Last Active 9/23/13                          E
                                                                                                                                 D

Metropolitan Credit Un                                               single family home
200 Revere Beach Pkwy                                                225 Arlington St
Chelsea, MA 02150                                                    Chelsea, MA 02150
                                                                -

                                                                        Value $                            160,000.00                         7,289.00             7,289.00
Account No.                                                          Non-Purchase Money Security

NextGear Capital, Inc.                                               TD Bank Checking
1320 City Center Drive, Ste 100
Carmel, IN 46032
                                                                -

                                                                        Value $                               200.00                              0.00                  0.00
Account No.                                                          Non-Purchase Money Security

NextGear Capital, Inc.                                               Bank of America - Business Checking
1320 City Center Drive, Ste 100
Carmel, IN 46032
                                                                -

                                                                        Value $                                 50.00                             0.00                  0.00
Account No.                                                          Non-Purchase Money Security

NextGear Capital, Inc.                                               Citizens Bank Business Checking
1320 City Center Drive, Ste 100                                      1315156765
Carmel, IN 46032
                                                                -

                                                                        Value $                                  0.00                             0.00                  0.00
Account No.                                                          Citizens Bank Business Checking

NextGear Capital, Inc.
1320 City Center Drive, Ste 100
Carmel, IN 46032
                                                                -

                                                                        Value $                                 50.00                             0.00                  0.00
       1
Sheet _____    2
            of _____  continuation sheets attached to                                                                    Subtotal
                                                                                                                                              7,289.00             7,289.00
Schedule of Creditors Holding Secured Claims                                                                    (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                    Case 13-43117                    Doc 17              Filed 12/26/13 Entered 12/26/13 14:32:16                             Desc Main
                                                                          Document     Page 9 of 27
 B6D (Official Form 6D) (12/07) - Cont.




   In re         Wally M Sabet                                                                                                 Case No.     13-43117
                                                                                                                  ,
                                                                                                  Debtor


                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                      (Continuation Sheet)

                                                            C    Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                                O                                                              O    N   I
                                                            D    H            DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
           AND MAILING ADDRESS                              E                                                              T    I   P       WITHOUT        UNSECURED
                                                                 W              NATURE OF LIEN, AND                                                        PORTION, IF
            INCLUDING ZIP CODE,                             B
                                                                               DESCRIPTION AND VALUE
                                                                                                                           I    Q   U
                                                                                                                                           DEDUCTING
                                                            T    J                                                         N    U   T                         ANY
           AND ACCOUNT NUMBER                               O    C                  OF PROPERTY                            G    I   E       VALUE OF
              (See instructions.)                           R
                                                                                   SUBJECT TO LIEN                         E    D   D     COLLATERAL
                                                                                                                           N    A
                                                                                                                           T    T
Account No.                                                          Citizens Bank Business Checking                            E
                                                                                                                                D

NextGear Capital, Inc.
1320 City Center Drive, Ste 100
Carmel, IN 46032
                                                                -

                                                                        Value $                               50.00                               0.00                  0.00
Account No.                                                          Credit purchases

Shamrock Finance LLC
c/o Kimberlee Nauges
141 Wood Rd, Ste 200
                                                                -
Braintree, MA 02184

                                                                        Value $                                 0.00                              0.00                  0.00
Account No. xxxxxxxxxxxx3477                                         Opened 7/01/11 Last Active 11/18/13

Wells Fargo Financial Nat'l Bk/Bobs                                  Purchase Money Security
Disc
Po Box 10438                                                         furniture
                                                                -
Des Moines, IA 50306

                                                                        Value $                             1,000.00                          2,554.00             1,554.00
Account No. xxxxxxxx5508                                             Opened 10/01/13 Last Active 11/01/13

Workers Credit Union                                                 Location: 297 Andover Street, North
815 Main St                                                          Andover MA 01845
Fitchburg, MA 01420                                                  Cadillac Escalade 2005
                                                                -

                                                                        Value $                            13,000.00                         11,272.00                  0.00
Account No.




                                                                        Value $
       2
Sheet _____    2
            of _____  continuation sheets attached to                                                                   Subtotal
                                                                                                                                             13,826.00             1,554.00
Schedule of Creditors Holding Secured Claims                                                                   (Total of this page)
                                                                                                                          Total             691,760.00         144,488.00
                                                                                                (Report on Summary of Schedules)

 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                   Case 13-43117                    Doc 17             Filed 12/26/13 Entered 12/26/13 14:32:16                                          Desc Main
                                                                        Document     Page 10 of 27
B6E (Official Form 6E) (4/13)


          }
          n
          b
          s
          k
          e
          1
          c
          {
          u
          S
          r
          h
          d
          P
          l
          i
          o
          E
          t
          -
          y
          C
          a
          m
          H
          g
          U




  In re         Wally M Sabet                                                                                                      Case No.            13-43117
                                                                                                                      ,
                                                                                                Debtor

                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                             1         continuation sheets attached
Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
                    Case 13-43117                    Doc 17             Filed 12/26/13 Entered 12/26/13 14:32:16                               Desc Main
                                                                         Document     Page 11 of 27
 B6E (Official Form 6E) (4/13) - Cont.




   In re         Wally M Sabet                                                                                                Case No.      13-43117
                                                                                                                 ,
                                                                                                  Debtor

                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                      (Continuation Sheet)
                                                                                                                          Taxes and Certain Other Debts
                                                                                                                           Owed to Governmental Units
                                                                                                                                       TYPE OF PRIORITY
                                                            C    Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                               O                                                             O    N   I                      AMOUNT NOT
                                                            D                                                             N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                              E    H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                             B    W
                                                                         AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                          OF CLAIM
           AND ACCOUNT NUMBER                               T    J                                                        N    U   T                                AMOUNT
                                                            O                                                             G    I   E                             ENTITLED TO
              (See instructions.)                           R    C                                                        E    D   D
                                                                                                                          N    A
                                                                                                                                                                    PRIORITY
                                                                                                                          T    T
Account No. 3487                                                     01-01-2013                                                E
                                                                                                                               D

Town of Tewksbury                                                    excise tax
Treasurer-Collector                                                                                                                                       0.00
11 Town Hall Avenue
                                                                -
Tewksbury, MA 01876-4733

                                                                                                                                                300.00                300.00
Account No.




Account No.




Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                  Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                       (Total of this page)              300.00                300.00
                                                                                                                          Total                           0.00
                                                                                                (Report on Summary of Schedules)                300.00                300.00

 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                    Case 13-43117                    Doc 17             Filed 12/26/13 Entered 12/26/13 14:32:16                                Desc Main
                                                                         Document     Page 12 of 27
 B6F (Official Form 6F) (12/07)


           }
           n
           b
           s
           k
           e
           1
           c
           {
           u
           S
           r
           h
           d
           N
           o
           l
           p
           F
           i
           -
           C
           t
           y
           a
           m
           H
           g
           U




   In re         Wally M Sabet                                                                                           Case No.         13-43117
                                                                                                                  ,
                                                                                                Debtor


                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                         C   Husband, Wife, Joint, or Community                             C   U   D
                   CREDITOR'S NAME,                                      O                                                                  O   N   I
                   MAILING ADDRESS                                       D   H                                                              N   L   S
                 INCLUDING ZIP CODE,                                     E               DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                             W
                AND ACCOUNT NUMBER
                                                                         B             CONSIDERATION FOR CLAIM. IF CLAIM                    I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                         T   J                                                              N   U   T
                                                                         O               IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                  (See instructions above.)                              R
                                                                             C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. x0652                                                                2013                                                       T   T
                                                                                                                                                E
                                                                                 Credit purchases                                               D

Acme Waste Systems, Inc.
PO Box 479                                                                   -
Wilmington, MA 01887

                                                                                                                                                                           87.00
Account No. xxxxxx5764                                                           2012
                                                                                 credit
Advanced Auto Parts Professional
1777 Main St                                                                 -
Tewksbury, MA 01876-2002

                                                                                                                                                                       2,268.00
Account No. xxxxxxxxxxxx7602                                                     Opened 8/16/08 Last Active 7/01/11
                                                                                 Charge Account
AIG Federal Savings Bank
Aig Federal Savings Bank                                                     -
Po Box 8733
Wilmington, DE 19899
                                                                                                                                                                         522.00
Account No. xx-x1000                                                             2012
                                                                                 Credit purchases
American Express
PO Box 1270                                                                  -
Newark, NJ 07101-1270

                                                                                                                                                                       7,350.88

                                                                                                                                        Subtotal
 11 continuation sheets attached
_____                                                                                                                                                                10,227.88
                                                                                                                              (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                     S/N:33534-131106   Best Case Bankruptcy
                    Case 13-43117                    Doc 17             Filed 12/26/13 Entered 12/26/13 14:32:16                         Desc Main
                                                                         Document     Page 13 of 27
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Wally M Sabet                                                                                        Case No.     13-43117
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxx7045                                                             2013                                                    E
                                                                                 Credit purchases                                        D

Autotrader
3003 Summit Blvd. A-200                                                      -
Atlanta, GA 30319

                                                                                                                                                             2,000.00
Account No. xxxxxxxxxxxx2170                                                     Opened 7/01/03 Last Active 10/07/13
                                                                                 Credit Card
Bank Of America
Po Box 982235                                                                -
El Paso, TX 79998

                                                                                                                                                               776.00
Account No. xxxxxxx2170                                                          August 2013
                                                                                 Credit purchases
Bank of America
PO Box 982235                                                                -
El Paso, TX 79998-2235

                                                                                                                                                               479.22
Account No. xxxxxxxxx-0000                                                       2013
                                                                                 health insurance
Blue Cross Blue Shield
401 Park Drive                                                               -
Boston, MA 02215-3326

                                                                                                                                                             1,168.58
Account No. xxxxxxxxxxxx3650                                                     Opened 9/01/06 Last Active 11/21/13
                                                                                 Charge Account
Cap1/bstby
PO Box 183195                                                                -
Columbus, OH 43218-3195

                                                                                                                                                             2,241.00

           1
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                             6,664.80
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                    Case 13-43117                    Doc 17             Filed 12/26/13 Entered 12/26/13 14:32:16                         Desc Main
                                                                         Document     Page 14 of 27
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Wally M Sabet                                                                                        Case No.     13-43117
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. 3557                                                                 11-1-13                                                 E
                                                                                 Credit purchases                                        D

CarGurus LLC
One Bow St, 4th Fl                                                           -
Cambridge, MA 02138

                                                                                                                                                               636.97
Account No. xx6782                                                               2013
                                                                                 Credit purchases
Carsforsale.com, Inc.
PO Box 91537                                                                 -
Sioux Falls, SD 57109

                                                                                                                                                               198.00
Account No. xxxxxxxxxxxx3978                                                     Opened 5/18/07 Last Active 8/21/11
                                                                                 Charge Account
Citibank Usa
Citicorp Credit                                                              -
Services/Attn:Centralize
Po Box 20507
Kansas City, MO 64195                                                                                                                                             0.00
Account No. xxxxxxx2968                                                          2012
                                                                                 Credit purchases
Citizens Bank
PO Box 18204                                                                 -
Bridgeport, CT 06601-3204

                                                                                                                                                             3,845.23
Account No. xxxxxxxxxxx8798                                                      2012
                                                                                 Credit purchases
Citizens Bank
PO Box 18204                                                                 -
Bridgeport, CT 06601-3204

                                                                                                                                                             1,000.00

           2
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                             5,680.20
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                    Case 13-43117                    Doc 17             Filed 12/26/13 Entered 12/26/13 14:32:16                         Desc Main
                                                                         Document     Page 15 of 27
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Wally M Sabet                                                                                        Case No.     13-43117
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxxxxxxx4877                                                        2012                                                    E
                                                                                 Credit purchases                                        D

Citizens Bank
PO Box 18204                                                                 -
Bridgeport, CT 06601-3204

                                                                                                                                                             1,100.00
Account No. xxx9467                                                              2012
                                                                                 Credit purchases
Citizens Bank
PO Box 18204                                                                 -
Bridgeport, CT 06601-3204

                                                                                                                                                             1,000.00
Account No. xxxxx2976                                                            2012
                                                                                 Credit purchases
Citizens Bank
PO Box 18204                                                                 -
Bridgeport, CT 06601-3204

                                                                                                                                                             1,000.00
Account No. xxxxxx6765                                                           2012
                                                                                 overdraft protection and fees
Citizens Bank
PO Box 42115                                                                 -
Providence, RI 02940-2115

                                                                                                                                                             1,250.00
Account No. xxx xxxxxS-7 13                                                      June 2013
                                                                                 insurance
Commerce Insurance
11 Gore Rd                                                                   -
Webster, MA 01570

                                                                                                                                                             4,354.00

           3
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                             8,704.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                    Case 13-43117                    Doc 17             Filed 12/26/13 Entered 12/26/13 14:32:16                         Desc Main
                                                                         Document     Page 16 of 27
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Wally M Sabet                                                                                        Case No.     13-43117
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                          DATE CLAIM WAS INCURRED AND                T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J          CONSIDERATION FOR CLAIM. IF CLAIM            N   U   T   AMOUNT OF CLAIM
                                                                         O   C            IS SUBJECT TO SETOFF, SO STATE.            G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                      2013                                                    E
                                                                                 Credit purchases                                        D

Dealer Car Search
221 S Hurstbourne Pky, Ste 101                                               -
Louisville, KY 40222

                                                                                                                                                               400.00
Account No. xxxxx0836                                                            2012
                                                                                 Credit purchases
Deetto Card Services
PO Box 3997                                                                  -
Saint Joseph, MO 64503-1600

                                                                                                                                                             3,006.99
Account No.                                                                      rent

DER Realty
c/o Ray Nickerson                                                            -
2195 Main Street
Tewksbury, MA 01876
                                                                                                                                                             9,750.00
Account No. xxA883                                                               April 2013
                                                                                 credit
Dominion
325 John Knox Rd, Ste L-200                                                  -
Tallahassee, FL 32303

                                                                                                                                                             1,552.00
Account No. xxxxxxxxx5320                                                        Opened 8/01/10 Last Active 10/16/13
                                                                                 Charge Account
Dsnb Macys
9111 Duke Blvd                                                               -
Mason, OH 45040

                                                                                                                                                             1,201.00

           4
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                           15,909.99
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                    Case 13-43117                    Doc 17             Filed 12/26/13 Entered 12/26/13 14:32:16                         Desc Main
                                                                         Document     Page 17 of 27
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Wally M Sabet                                                                                        Case No.     13-43117
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxxxxxxxxxx3122                                                     Opened 5/01/12 Last Active 10/22/13                     E
                                                                                 Credit Card                                             D

Elan Financial Service
777 E Wisconsin Ave                                                          -
Milwaukee, WI 53202

                                                                                                                                                               952.00
Account No. xxxxxxxxxxxx0869                                                     Opened 2/26/07 Last Active 5/28/07
                                                                                 Charge Account
GECRB/ HH Gregg
Attention: Bankruptcy                                                        -
Po Box 103104
Roswell, GA 30076
                                                                                                                                                                  0.00
Account No. xxxxxxxxxxxx7124                                                     Opened 8/01/09 Last Active 11/01/13
                                                                                 Charge Account
Gecrb/Care Credit
Attn: bankruptcy                                                             -
Po Box 103104
Roswell, GA 30076
                                                                                                                                                             2,864.00
Account No. xxxxxxxxxxxx3013                                                     Opened 8/01/08 Last Active 10/29/13
                                                                                 Charge Account
Gecrb/sleepys
Po Box 981439                                                                -
El Paso, TX 79998

                                                                                                                                                             1,103.00
Account No. xxA883                                                               2012
                                                                                 Credit purchases
GetAuto
325 John Knox Rd, Bldg. L-200                                                -
Tallahassee, FL 32303

                                                                                                                                                             2,300.00

           5
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                             7,219.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                    Case 13-43117                    Doc 17             Filed 12/26/13 Entered 12/26/13 14:32:16                         Desc Main
                                                                         Document     Page 18 of 27
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Wally M Sabet                                                                                        Case No.     13-43117
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                      2013                                                    E
                                                                                 business debt                                           D

Iris M Perez
553 White St                                                                 -                                                               X
Springfield, MA 01108

                                                                                                                                                            Unknown
Account No.                                                                      2013
                                                                                 business debt
Jeannine Gauthier
33 Dexter Ave                                                                -                                                               X
Dracut, MA 01826

                                                                                                                                                            Unknown
Account No. xxxxxxx1224                                                          2012
                                                                                 Credit purchases
JP Morgan Chase
PO Box 15298                                                                 -
Wilmington, DE 19850-5123

                                                                                                                                                             1,862.54
Account No. xx1816                                                               09-05-2009
                                                                                 medical
L&M Radiology, Inc
Brian Murphy MD c/o Merrimack                                                -
Imaging
500 Merrimack Street
Lawrence, MA 01843                                                                                                                                           1,809.75
Account No.                                                                      2012
                                                                                 medical
Lawrence General Hospital
One General Street                                                           -
Lawrence, MA 01842

                                                                                                                                                               506.49

           6
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                             4,178.78
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                    Case 13-43117                    Doc 17             Filed 12/26/13 Entered 12/26/13 14:32:16                         Desc Main
                                                                         Document     Page 19 of 27
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Wally M Sabet                                                                                        Case No.     13-43117
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxx6633                                                             2012                                                    E
                                                                                 medical                                                 D

Lawrence General Hospital
One General Street                                                           -
Lawrence, MA 01842

                                                                                                                                                             1,334.37
Account No. xxxx4284                                                             9-12-13
                                                                                 medical
Lawrence General Hospital
118 Lukens Dr                                                                -
River Edge Park
New Castle, DE 19720-2727
                                                                                                                                                               250.00
Account No. xxxxx5530                                                            2012
                                                                                 credit
Macys
PO Box 183083                                                                -
Columbus, OH 43218-3083

                                                                                                                                                             1,040.00
Account No.                                                                      2013
                                                                                 Credit purchases
Methuen Glass
468 Merrimack St                                                             -
Methuen, MA 01844

                                                                                                                                                               175.00
Account No. xxxxxxxxxxxx4574                                                     Opened 6/01/98 Last Active 10/28/13
                                                                                 Credit Card
Metro Credit Uni
200 Revere Beach P                                                           -
Chelsea, MA 02150

                                                                                                                                                           15,171.00

           7
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                           17,970.37
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                    Case 13-43117                    Doc 17             Filed 12/26/13 Entered 12/26/13 14:32:16                         Desc Main
                                                                         Document     Page 20 of 27
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Wally M Sabet                                                                                        Case No.     13-43117
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                      2013                                                    E
                                                                                 Credit purchases                                        D

Mojo Motors
150 W 30th St                                                                -
Suite 1200
New York, NY 10001
                                                                                                                                                               400.00
Account No. xxxxx3606                                                            2013
                                                                                 Credit purchases
National Credit Center, Inc.
PO Box 740285                                                                -
Los Angeles, CA 90074-0285

                                                                                                                                                               800.00
Account No. xx0161                                                               nov 2013
                                                                                 credit
National Credit Center, Inc.
PO Box 740285                                                                -
Los Angeles, CA 90074-0285

                                                                                                                                                               167.97
Account No. xxxxx/x3519                                                          2012
                                                                                 Credit purchases
National Grid
PO Box 1040                                                                  -
Northborough, MA 01532-4040

                                                                                                                                                             2,167.67
Account No. xxxxx-x5035                                                          nov 2013
                                                                                 credit
National Grid
PO Box 960                                                                   -
Northborough, MA 01532

                                                                                                                                                               447.87

           8
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                             3,983.51
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                    Case 13-43117                    Doc 17             Filed 12/26/13 Entered 12/26/13 14:32:16                         Desc Main
                                                                         Document     Page 21 of 27
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Wally M Sabet                                                                                        Case No.     13-43117
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxxx-x0032                                                          nov 2013                                                E
                                                                                 credit                                                  D

National Grid
PO Box 960                                                                   -
Northborough, MA 01532

                                                                                                                                                               288.71
Account No. xxxxx-x0049                                                          nov 2013
                                                                                 credit
National Grid
PO Box 960                                                                   -
Northborough, MA 01532

                                                                                                                                                               407.68
Account No.                                                                      November 2013
                                                                                 credit
Nature Springs Water Co.
55 Franklin St                                                               -
Needham Heights, MA 02494

                                                                                                                                                                 95.65
Account No. xx8331                                                               2012
                                                                                 Credit purchases
Pulsar Alarm Systems, LTD
4 Wilder Dr. Unit 11                                                         -
PO Box 867
Plaistow, NH 03865
                                                                                                                                                               150.00
Account No.                                                                      2010
                                                                                 business loan
Robert Maria
c/o Wendy O'Linsky, Esq.                                                     -
380 Merrimack St, Ste 2E
Methuen, MA 01844
                                                                                                                                                             5,000.00

           9
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                             5,942.04
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                    Case 13-43117                    Doc 17             Filed 12/26/13 Entered 12/26/13 14:32:16                         Desc Main
                                                                         Document     Page 22 of 27
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Wally M Sabet                                                                                        Case No.     13-43117
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                      2012                                                    E
                                                                                 Credit purchases                                        D

Sovereign Bank
1130 Berkshire Blvd                                                          -
Reading, PA 19610

                                                                                                                                                           14,000.00
Account No. xxxxxxxxxxxx3911                                                     Opened 8/01/08 Last Active 6/03/13
                                                                                 Credit Line Secured
Springleaf Financial S
Po Box 969                                                                   -
Evansville, IN 47706

                                                                                                                                                                  0.00
Account No. xxxxxxxxxxxx0836                                                     Opened 1/01/08 Last Active 11/04/13
                                                                                 Charge Account
Sst/columbus Bank&trus
Attn:Bankruptcy                                                              -
Po Box 3997
St. Joseph, MO 64503
                                                                                                                                                             3,006.00
Account No. xxxxx0736                                                            2013
                                                                                 insurance
Utica National Insurance Group
PO Box 6532                                                                  -
Utica, NY 13504-6532

                                                                                                                                                             1,372.00
Account No.                                                                      2012
                                                                                 Credit purchases
Vehix.com
c/o Szabo Associates, Inc                                                    -
3355 Lenox Rd NE #945
Atlanta, GA 30326
                                                                                                                                                             2,240.00

           10 of _____
Sheet no. _____    11 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                           20,618.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                    Case 13-43117                    Doc 17             Filed 12/26/13 Entered 12/26/13 14:32:16                                Desc Main
                                                                         Document     Page 23 of 27
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Wally M Sabet                                                                                              Case No.      13-43117
                                                                                                                   ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                             C   U   D
                   CREDITOR'S NAME,                                      O                                                                  O   N   I
                   MAILING ADDRESS                                       D   H                                                              N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                         B                                                                  I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                  (See instructions above.)                              R                                                                  E   D   D
                                                                                                                                            N   A
                                                                                                                                            T   T
Account No. xxxxx4877                                                            2012                                                           E
                                                                                 Credit purchases                                               D

Wells Fargo Business Direct
PO Box 348750                                                                -
Sacramento, CA 95834

                                                                                                                                                                    7,964.21
Account No. xxxxxxxxxx3122                                                       2012
                                                                                 Credit purchases
Workers Credit Union
Cardmember Service                                                           -
PO Box 6335
Fargo, ND 58125-6335
                                                                                                                                                                      891.85
Account No. xxxxxx9770                                                           Nov 2013
                                                                                 Credit purchases
WorldPay
600 Morgan Falls Rd #260                                                     -
Atlanta, GA 30350

                                                                                                                                                                        76.01
Account No.




Account No.




           11 of _____
Sheet no. _____    11 sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                    8,932.07
Creditors Holding Unsecured Nonpriority Claims                                                                                  (Total of this page)
                                                                                                                                            Total
                                                                                                                  (Report on Summary of Schedules)              116,030.64


 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                      Case 13-43117                 Doc 17             Filed 12/26/13 Entered 12/26/13 14:32:16                    Desc Main
                                                                        Document     Page 24 of 27
B6G (Official Form 6G) (12/07)


           a
           }
           n
           b
           d
           k
           1
           U
           {
           S
           e
           c
           x
           h
           p
           i
           r
           u
           l
           L
           G
           -
           s
           E
           t
           o
           y
           C




  In re             Wally M Sabet                                                                               Case No.        13-43117
                                                                                                      ,
                                                                                    Debtor

                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                      Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                 State contract number of any government contract.




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
                   Case 13-43117                    Doc 17             Filed 12/26/13 Entered 12/26/13 14:32:16             Desc Main
                                                                        Document     Page 25 of 27
B6H (Official Form 6H) (12/07)


           }
           b
           k
           1
           {
           S
           c
           h
           e
           d
           u
           l
           H
           -
           C
           o
           t
           r
           s




  In re          Wally M Sabet                                                                           Case No.       13-43117
                                                                                               ,
                                                                                   Debtor

                                                                  SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                         NAME AND ADDRESS OF CREDITOR




       0
               continuation sheets attached to Schedule of Codebtors
Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
             Case 13-43117             Doc 17        Filed 12/26/13 Entered 12/26/13 14:32:16                            Desc Main
                                                      Document     Page 26 of 27

B6I (Official Form 6I) (12/07)
 In re    Wally M Sabet                                                                                 Case No.       13-43117
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Divorced                               None.

Employment:                                               DEBTOR                                                   SPOUSE
Occupation
Name of Employer
How long employed
Address of Employer

INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $          0.00          $            N/A
2. Estimate monthly overtime                                                                             $          0.00          $            N/A

3. SUBTOTAL                                                                                              $              0.00      $                 N/A


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $              0.00      $                 N/A
     b. Insurance                                                                                        $              0.00      $                 N/A
     c. Union dues                                                                                       $              0.00      $                 N/A
     d. Other (Specify):                                                                                 $              0.00      $                 N/A
                                                                                                         $              0.00      $                 N/A

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $              0.00      $                 N/A

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $              0.00      $                 N/A

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $              0.00      $                 N/A
8. Income from real property                                                                             $              0.00      $                 N/A
9. Interest and dividends                                                                                $              0.00      $                 N/A
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $              0.00      $                 N/A
11. Social security or government assistance
(Specify):                                                                                               $              0.00      $                 N/A
                                                                                                         $              0.00      $                 N/A
12. Pension or retirement income                                                                         $              0.00      $                 N/A
13. Other monthly income
(Specify):                                                                                               $              0.00      $                 N/A
                                                                                                         $              0.00      $                 N/A

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $              0.00      $                 N/A

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $              0.00      $                 N/A

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $              0.00
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
           Case 13-43117         Doc 17       Filed 12/26/13 Entered 12/26/13 14:32:16                      Desc Main
                                               Document     Page 27 of 27

B6J (Official Form 6J) (12/07)
 In re    Wally M Sabet                                                                       Case No.    13-43117
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 1,346.13
 a. Are real estate taxes included?                            Yes X              No
 b. Is property insurance included?                            Yes X              No
2. Utilities:      a. Electricity and heating fuel                                                          $                   200.00
                   b. Water and sewer                                                                       $                    25.00
                   c. Telephone                                                                             $                   144.00
                   d. Other                                                                                 $                     0.00
3. Home maintenance (repairs and upkeep)                                                                    $                   100.00
4. Food                                                                                                     $                   500.00
5. Clothing                                                                                                 $                   100.00
6. Laundry and dry cleaning                                                                                 $                    40.00
7. Medical and dental expenses                                                                              $                     0.00
8. Transportation (not including car payments)                                                              $                     0.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                     0.00
10. Charitable contributions                                                                                $                     0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                     0.00
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                   190.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                   216.00
                   b. Other                                                                                 $                     0.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                 1,380.30
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other                                                                                                   $                     0.00
    Other                                                                                                   $                     0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 4,241.43
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                     0.00
b. Average monthly expenses from Line 18 above                                                              $                 4,241.43
c. Monthly net income (a. minus b.)                                                                         $                -4,241.43
